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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 NINGDE AMPEREX TECHNOLOGY                        §
 LIMITED,                                         §
                                                  §
                Plaintiff,                        §
                                                       Civil Action No.: 2:22-CV-232
                                                  §
 v.                                               §
                                                       JURY TRIAL DEMANDED
                                                  §
 ZHUHAI COSMX BATTERY CO., LTD.,                  §
                                                  §
                Defendant.


          ORDER GRANTING JOINT MOTION TO APPOINT INTERPRETERS


        Before the Court is Plaintiff Ningde Amperex Technology Limited and Defendant Zhuhai

 CosMX Battery Co., Ltd.’s Joint Motion to Appoint Tianlu Redmon and Vivan Josh as Interpreters

 (the “Joint Motion”). The Court, having considered the same, is of the opinion that the Joint Motion

 should be GRANTED.




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